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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                            )
 COMMITTEE ON WAYS AND MEANS,               )
  UNITED STATES HOUSE OF                    )
  REPRESENTATIVES,                          )
                                            )
                     Plaintiff,             )
                                            )
                 v.                         )
                                            ) No. 1:19-cv-1974-TNM
 UNITED STATES DEPARTMENT OF THE )
  TREASURY, et al.,                         )
                                            )
                     Defendants,            )
                                            )
 DONALD J. TRUMP, et al.,                   )
                                            )
                     Defendant-Intervenors. )
_______________________________________)

                                   JOINT STATUS REPORT

       Pursuant to the Court’s March 3, 2021, Minute Order, the parties respectfully submit the

following joint status report.

       Joint Position of the Plaintiff and Defendants

       Plaintiff and Defendants advise the Court that they have had communications, and

anticipate further communications, that may inform Defendants’ position in this case. Plaintiff

and Defendants therefore request that the parties be directed to file a further status report on

April 30, 2021. Plaintiff and Defendants also respectfully suggest that the status conference

scheduled for April 1, 2021, be rescheduled for May 3, 2021.

       Defendants would not object in the meantime to a corresponding extension of the Court’s

prior Minute Orders requiring 72 hours’ notice to counsel for the Defendant-Intervenors before

any release of the Defendant-Intervenors’ tax-return information to the Committee.

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       Position of the Intervenor-Defendants

       Intervenor-Defendants do not oppose the government‘s proposal on how to proceed,

provided the court leaves in place the existing order allowing for notice and an opportunity to

challenge if the government’s position changes.


Dated: March 31, 2021


                                                  Respectfully submitted,

                                                  MICHAEL D. GRANSTON
                                                  Deputy Assistant Attorney General

                                                  JOHN R. GRIFFITHS
                                                  Director

                                                  ELIZABETH J. SHAPIRO
                                                  Deputy Director



                                                   /s/ James J. Gilligan
                                                  JAMES J. GILLIGAN
                                                  Special Litigation Counsel

                                                  SERENA M. ORLOFF
                                                  STEVEN A. MYERS
                                                  CRISTEN C. HANDLEY
                                                  Attorneys
                                                  U.S. Department of Justice
                                                  Civil Division, Federal Programs Branch
                                                  P.O. Box 883
                                                  Washington, D.C. 20044

                                                  Telephone:    (202) 514-3358
                                                  Fax:          (202) 616-8470
                                                  E-mail:       james.gilligan@usdoj.gov

                                                  Counsel for Defendants




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                               /s/ Douglas N. Letter
                              Douglas N. Letter (DC Bar No. 253492)
                                General Counsel
                              Todd B. Tatelman (VA Bar No. 66008)
                              Megan Barbero (MA Bar No. 668854)

                              OFFICE OF GENERAL COUNSEL
                              U.S. HOUSE OF REPRESENTATIVES
                              5140 O’Neill House Office Building
                              Washington, D.C. 20515

                              Telephone: (202) 225-9700
                              douglas.letter@mail.house.gov

                              Counsel for Plaintiff Committee on Ways and
                              Means, U.S. House of Representatives




                              /s/ William S. Convovoy
                              William S. Consovoy (D.C. Bar #493423)
                              Cameron T. Norris
                              CONSOVOY MCCARTHY PLLC
                              1600 Wilson Boulevard, Suite 700
                              Arlington, VA 22209
                              (703) 243-9423
                              will@consovoymccarthy.com
                              cam@consovoymccarthy.com

                              Patrick Strawbridge (pro hac vice)
                              CONSOVOY MCCARTHY PLLC
                              Ten Post Office Square, 8th Floor
                              South PMB #706
                              Boston, MA 02109
                              (617) 227-0548
                              patrick@consovoymccarthy.com

                              Counsel for Intervenor-Defendants Donald J.
                              Trump, The Donald J. Trump Revocable Trust,
                              DJT Holdings LLC, DJT Holdings Managing
                              Member LLC, DTTM Operations LLC, DTTM
                              Operations Managing Member Corp, LFB
                              Acquisition Member Corp., LFB Acquisition
                              LLC, and Lamington Farm Club, LLC d/b/a
                              Trump National Golf Club-Bedminster



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